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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


                            CRIMINAL NO. 11-10195-RWZ


                            UNITED STATES OF AMERICA

                                           v.

                                   SANUSIE MO KABBA


                                        ORDER
                                    February 14, 2012

ZOBEL, D.J.

      Defendant, Sanusie Mo Kabba, has moved to amend the conditions of release

ordered on September 20, 2012, by reducing the amount of the bond and the security

therefor. He initially proposed a bond in the amount of $500,000 to be secured by real

estate owned by members of defendant’s family. On November 3, 2012, the court

allowed defendant’s motion to reduce the security because the family’s “real estate

portfolio has sustained a significant decrease in value during the recent economic

downturn” (Docket # 140), but ordered security in the amount of $250,000, not the

amount defendant requested, $150,000. The most recent motion (Docket # 146), again

requests a reduction to $150,000 because the family, despite major effort to satisfy the

security ordered, has been unable to do so. The court allowed that motion without

opposition on January 18, 2012, and the government on the same day moved for

reconsideration. (Docket # 149.)

      At the hearing on the latest motion, defendant notified the court that the
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previously appointed custodian, defendant’s father, would not be able to continue in

that capacity and he offered as an alternative custodian defendant’s fiancee.

          First, the motion for reconsideration (Docket # 149) is allowed. However, the

ruling reducing the amount of the secured bond will stand. I am persuaded that

defendant understands that his violation of any condition of release will result in

serious economic harm to his parents and that he is not likely to court their financial

ruin. That is, his release with this security will ensure the safety of the community and

defendant’s appearance.

          I am further persuaded that the proffered custodian, Ms. Tony L. Gabriel, is a

responsible person who will appropriately communicate with Pretrial Services as

directed by the court.

          Accordingly, paragraph 1 of the order of release entered on September 20, 2011

is hereby amended to provide for a secured bond in the amount of $150,000.

Paragraphs 2 and 3 are amended by naming a new custodian, Tony L. Gabriel, and

requiring defendant to live at the residence of Ms. Gabriel on 757 N. Cary Street,

Brockton, MA.

          All other provisions of the September 20, 2011, order remain in full force and

effect.

          Counsel for defendant shall notify the Clerk when the defendant and Ms. Gabriel

are prepared to meet this condition of release. Upon notification the court will schedule

a release hearing.




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February 14, 2012                               /s/Rya W. Zobel

   DATE                                    RYA W. ZOBEL
                                   UNITED STATES DISTRICT JUDGE




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